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In re Lynn T Destefano                                                                       Case No.                        11-48495
                                                                                                                                   (if known)



                                              SCHEDULE A - REAL PROPERTY

Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned
as a co-tenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and
powers exercisable for the debtor's own benefit. If the debtor is married, state whether the husband, wife, both, or the marital
community own the property by placing an "H," "W," "J," or "C" in the column labled "Husband, Wife, Joint, or Community." If the debtor
holds no interest in real property, write "None" under "Description and Location of Property."

Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory
Contracts and Unexpired Leases.

If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no
entity claims to hold a secured interest in the property, write "None" in the column labeled "Amount of Secured Claim."

If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C -
Property Claimed as Exempt.

                                                                                                                                Current Value




                                                                                                     Husband, Wife, Joint,
                                                                                                                                 of Debtor's
                    Description and                                        Nature of Debtor's




                                                                                                       or Community
                                                                                                                                  Interest in
                      Location of                                         Interest in Property
                                                                                                                              Property, Without     Amount Of
                       Property                                                                                                                    Secured Claim
                                                                                                                               Deducting Any
                                                                                                                               Secured Claim
                                                                                                                                or Exemption


 922 Winston Drive in Melrose Park, Residential                    Debtor's Residence                   -                          $269,897.00       $269,897.00
 single family




                                                                                                 Total:                            $269,897.00
                                                                                                  (Report also on Summary of Schedules)
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In re Lynn T Destefano                                                                       Case No.    11-48495
                                                                                                                (if known)



                                         SCHEDULE B - PERSONAL PROPERTY

Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the
categories, place an "x" in the appropriate position in the column labeled "None." If additional space is needed in any category, attach a
separate sheet properly identified with the case name, case number, and the number of the category. If the debtor is married, state
whether the husband, wife, both, or the marital community own the property by placing an "H," "W," "J," or "C" in the column labeled
"Husband, Wife, Joint, or Community." If the debtor is an individual or a joint petition is filed, state the amount of any exemptions
claimed only in Schedule C - Property Claimed as Exempt.

Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts
and Unexpired Leases.

If the property is being held for the debtor by someone else, state that person's name and address under "Description and Location of
Property." If the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent
or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. § 112 and Fed. R.
Bankr. P. 1007(m).




                                                                                                                      Husband, Wife, Joint,
                                                                                                                                              Current Value of
                                                                                                                                              Debtor's Interest




                                                                                                                        or Community
                                                                                                                                                 in Property,
                                            None




                                                                                                                                              Without Deducting
             Type of Property                                     Description and Location of Property                                          any Secured
                                                                                                                                                   Claim or
                                                                                                                                                  Exemption

1. Cash on hand.                                   emergency cash                                                           -                         $100.00


2. Checking, savings or other finan-               One-half interest in joint checking account with Joseph                  -                         $366.62
cial accounts, certificates of deposit             Strezezewski
or shares in banks, savings and loan,              TCF National Bank
thrift, building and loan, and home-               Burr Ridge Pkway
stead associations, or credit unions,              Burr Ridge, IL 60527
brokerage houses, or cooperatives.                 Total amount in account from 11/28/2011-12/05/2011:
                                                   $733.25. Own half interest, which is $366.62
                                                   Acct No: XXXXXX5784

                                                   Joint checking account with Joseph Strzezewski                           -                          $15.15
                                                   Charter One
                                                   PO Box 7000
                                                   ROP-450
                                                   Providence, RI 02940
                                                   Circle Gold Checking with interest
                                                   Account #XXXXXX5774

                                                   Real Estate Sales Account                                                -                           $0.19
                                                   Charter One
                                                   PO Box 7000
                                                   ROP-450
                                                   Providence, RI 02940
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In re Lynn T Destefano                                                                     Case No.     11-48495
                                                                                                               (if known)



                                          SCHEDULE B - PERSONAL PROPERTY
                                                             Continuation Sheet No. 1




                                                                                                                     Husband, Wife, Joint,
                                                                                                                                             Current Value of
                                                                                                                                             Debtor's Interest




                                                                                                                       or Community
                                                                                                                                                in Property,
                                            None                                                                                             Without Deducting
             Type of Property                                    Description and Location of Property                                          any Secured
                                                                                                                                                  Claim or
                                                                                                                                                 Exemption

                                                   Business Green Checking
                                                   Account # XXXXXXX5233


3. Security deposits with public util-      X
ities, telephone companies, land-
lords, and others.

4. Household goods and furnishings,                Misc household items (none worth more than $525)                        -                         $800.00
including audio, video and computer
equipment.

5. Books; pictures and other art            X
objects; antiques; stamp, coin,
record, tape, compact disc, and other
collections or collectibles.

6. Wearing apparel.                                Misc used clothing                                                      -                         $200.00


7. Furs and jewelry.                               Misc costume jewelry                                                    -                         $100.00


8. Firearms and sports, photo-              X
graphic, and other hobby equipment.

9. Interests in insurance policies.         X
Name insurance company of each
policy and itemize surrender or
refund value of each.

10. Annuities. Itemize and name             X
each issuer.
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In re Lynn T Destefano                                                                    Case No.     11-48495
                                                                                                              (if known)



                                          SCHEDULE B - PERSONAL PROPERTY
                                                            Continuation Sheet No. 2




                                                                                                                    Husband, Wife, Joint,
                                                                                                                                            Current Value of
                                                                                                                                            Debtor's Interest




                                                                                                                      or Community
                                                                                                                                               in Property,
                                            None                                                                                            Without Deducting
             Type of Property                                   Description and Location of Property                                          any Secured
                                                                                                                                                 Claim or
                                                                                                                                                Exemption


11. Interests in an education IRA as        X
defined in 26 U.S.C. § 530(b)(1) or
under a qualified State tuition plan
as defined in 26 U.S.C. § 529(b)(1).
Give particulars. (File separately
the record(s) of any such interest(s).
11 U.S.C. § 521(c).)

12. Interests in IRA, ERISA, Keogh,                CB&T Customer IRA-Rollover                                             -                       $6,176.27
or other pension or profit sharing                 American Funds
plans. Give particulars.                           PO Box 6164
                                                   Indianapolis, IN 46206-6164
                                                   Account No: XXXX0372
                                                   Plan type: Traditional IRA

                                                   IRA                                                                    -                      $20,167.00
                                                   Nationwide Life Insurance Company
                                                   PO Box 182021
                                                   Columbus, OH 43218-2021
                                                   Contract Number: XX-XXX0390


13. Stock and interests in incorpo-         X
rated and unincorporated businesses.
Itemize.

14. Interests in partnerships or joint      X
ventures. Itemize.

15. Government and corporate bonds          X
and other negotiable and non-
negotiable instruments.

16. Accounts receivable.                    X
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In re Lynn T Destefano                                                                      Case No.     11-48495
                                                                                                                (if known)



                                           SCHEDULE B - PERSONAL PROPERTY
                                                              Continuation Sheet No. 3




                                                                                                                      Husband, Wife, Joint,
                                                                                                                                              Current Value of
                                                                                                                                              Debtor's Interest




                                                                                                                        or Community
                                                                                                                                                 in Property,
                                            None                                                                                              Without Deducting
             Type of Property                                     Description and Location of Property                                          any Secured
                                                                                                                                                   Claim or
                                                                                                                                                  Exemption


17. Alimony, maintenance, support,          X
and property settlements to which the
debtor is or may be entitled. Give
particulars.

18. Other liquidated debts owed to          X
debtor including tax refunds. Give
particulars.

19. Equitable or future interests, life     X
estates, and rights or powers exercis-
able for the benefit of the debtor other
than those listed in Schedule A - Real
Property.

20. Contingent and noncontingent            X
interests in estate of a decedent, death
benefit plan, life insurance policy, or
trust.

21. Other contingent and unliqui-           X
dated claims of every nature,
including tax refunds, counterclaims
of the debtor, and rights to setoff
claims. Give estimated value of each.

22. Patents, copyrights, and other          X
intellectual property. Give
particulars.

23. Licenses, franchises, and other                real estate license                                                      -                        Unknown
general intangibles. Give particulars.
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In re Lynn T Destefano                                                                       Case No.    11-48495
                                                                                                                (if known)



                                          SCHEDULE B - PERSONAL PROPERTY
                                                             Continuation Sheet No. 4




                                                                                                                      Husband, Wife, Joint,
                                                                                                                                              Current Value of
                                                                                                                                              Debtor's Interest




                                                                                                                        or Community
                                                                                                                                                 in Property,
                                            None                                                                                              Without Deducting
             Type of Property                                     Description and Location of Property                                          any Secured
                                                                                                                                                   Claim or
                                                                                                                                                  Exemption


24. Customer lists or other compilations    X
containing personally identifiable
information (as defined in 11 U.S.C.
§ 101(41A)) provided to the debtor by
individuals in connection with obtaining
a product or service from the debtor
primarily for personal, family, or
household purposes.

25. Automobiles, trucks, trailers,                 Pontiac Grand Prix 2001                                                  -                       $2,400.00
and other vehicles and accessories.                Mileage: 75,900
                                                   2-door coupe
                                                   GT
                                                   Normal wear and tear;
                                                   smoke smell obvious;
                                                   Needs new brakes and tires;
                                                   Gas gage does not work. Repair quote is $1000.00
                                                   Ignition needs to be replaced. Must use a screw driver to
                                                   remove keys each time car is turned off
                                                   Kelly Blue Book Trade-in value: 2000.00


26. Boats, motors, and accessories.         X

27. Aircraft and accessories.               X

28. Office equipment, furnishings,                 Used computer, printer, and misc office supplies                         -                         $200.00
and supplies.

29. Machinery, fixtures, equipment,         X
and supplies used in business.

30. Inventory.                              X

31. Animals.                                X
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In re Lynn T Destefano                                                                        Case No.     11-48495
                                                                                                                  (if known)



                                          SCHEDULE B - PERSONAL PROPERTY
                                                             Continuation Sheet No. 5




                                                                                                                         Husband, Wife, Joint,
                                                                                                                                                 Current Value of
                                                                                                                                                 Debtor's Interest




                                                                                                                           or Community
                                                                                                                                                    in Property,
                                              None                                                                                               Without Deducting
             Type of Property                                    Description and Location of Property                                              any Secured
                                                                                                                                                      Claim or
                                                                                                                                                     Exemption


32. Crops - growing or harvested.             X
Give particulars.

33. Farming equipment and                     X
implements.

34. Farm supplies, chemicals, and             X
feed.

35. Other personal property of any            X
kind not already listed. Itemize.




                                                                          5           continuation sheets attached   Total >                          $30,525.23
             (Include amounts from any continuation sheets attached. Report total also on Summary of Schedules.)
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In re Lynn T Destefano                                                                            Case No.   11-48495
                                                                                                                    (If known)



                                     SCHEDULE C - PROPERTY CLAIMED AS EXEMPT


 Debtor claims the exemptions to which debtor is entitled under:                    Check if debtor claims a homestead exemption that exceeds
 (Check one box)                                                                    $146,450.*
      11 U.S.C. § 522(b)(2)
      11 U.S.C. § 522(b)(3)




                                                                                                                                      Current
                                                                                                                                 Value of Property
                                                              Specify Law Providing Each                 Value of Claimed
              Description of Property                                                                                            Without Deducting
                                                                       Exemption                            Exemption
                                                                                                                                     Exemption



 922 Winston Drive in Melrose Park, Residential           735 ILCS 5/12-901: Residence or                            $0.00            $269,897.00
 single family                                            homestead of individual. Includes                      15,000.00
                                                          farm, lot + buildings, condominium,
                                                          personal property or cooperative. Can
                                                          be owned or leased. (includes
                                                          proceeds of sale for 1 year under 735
                                                          ILCS 5/12-906)

 emergency cash                                           735 ILCS 5/12-1001(b): Any personal                     $100.00                 $100.00
                                                          property of debtor                                  100% of FMV

 One-half interest in joint checking account with         735 ILCS 5/12-1001(b): Any personal                     $366.62                 $366.62
 Joseph Strezezewski                                      property of debtor                                  100% of FMV
 TCF National Bank
 Burr Ridge Pkway
 Burr Ridge, IL 60527

 Total amount in account from 11/28/2011-
 12/05/2011: $733.25. Own half interest, which
 is $366.62

 Acct No: XXXXXX5784

 Joint checking account with Joseph Strzezewski           735 ILCS 5/12-1001(b): Any personal                       $15.15                  $15.15
                                                          property of debtor
 Charter One
 PO Box 7000
 ROP-450
 Providence, RI 02940



* Amount subject to adjustment on 4/1/13 and every three years thereafter with respect to cases
commenced on or after the date of adjustment.
                                                                                                                   $481.77            $270,378.77
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                                                                                                           (If known)



                                         SCHEDULE C - PROPERTY CLAIMED AS EXEMPT

                                                       Continuation Sheet No. 1


                                                                                                                             Current
                                                                                                                        Value of Property
                                                        Specify Law Providing Each              Value of Claimed        Without Deducting
              Description of Property                            Exemption                         Exemption                Exemption



 Circle Gold Checking with interest
 Account #XXXXXX5774

 Real Estate Sales Account                          735 ILCS 5/12-1001(b): Any personal                     $0.19                  $0.19
                                                    property of debtor
 Charter One
 PO Box 7000
 ROP-450
 Providence, RI 02940

 Business Green Checking
 Account # XXXXXXX5233

 Misc household items (none worth more than         735 ILCS 5/12-1001(b): Any personal                  $800.00                 $800.00
 $525)                                              property of debtor                               100% of FMV

 Misc used clothing                                 735 ILCS 5/12-1001(a), (e):                          $200.00                 $200.00
                                                    Necessary wearing apparel, bible,                100% of FMV
                                                    school books, family pictures and
                                                    prescribed health aids of debtor &
                                                    dependents

 Misc costume jewelry                               735 ILCS 5/12-1001(b): Any personal                  $100.00                 $100.00
                                                    property of debtor                               100% of FMV

 CB&T Customer IRA-Rollover                         735 ILCS 5/12-1006: Debtor's interest               $6,176.27              $6,176.27
 American Funds                                     in a retirement plan qualified under
 PO Box 6164                                        the Internal Revenue Code or a public
 Indianapolis, IN 46206-6164                        employee pension plan (NOTE:
                                                    Includes stock bonus, pension, profit-
 Account No: XXXX0372                               sharing, annuity, or similar plans, self-
 Plan type: Traditional IRA                         employed or simplified employee
                                                    pension plans, government or church
                                                    retirement plans, and individual
                                                    retirement annuities or accounts.)

                                                    735 ILCS 5/12-1001(b): Any personal                     $0.00
                                                    property of debtor

                                                                                                        $7,758.23            $277,655.23
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                                         SCHEDULE C - PROPERTY CLAIMED AS EXEMPT

                                                        Continuation Sheet No. 2


                                                                                                                             Current
                                                                                                                        Value of Property
                                                         Specify Law Providing Each              Value of Claimed       Without Deducting
              Description of Property                             Exemption                         Exemption               Exemption



 IRA                                                 735 ILCS 5/12-1006: Debtor's interest             $20,167.00             $20,167.00
 Nationwide Life Insurance Company                   in a retirement plan qualified under
 PO Box 182021                                       the Internal Revenue Code or a public
 Columbus, OH 43218-2021                             employee pension plan (NOTE:
 Contract Number: XX-XXX0390                         Includes stock bonus, pension, profit-
                                                     sharing, annuity, or similar plans, self-
                                                     employed or simplified employee
                                                     pension plans, government or church
                                                     retirement plans, and individual
                                                     retirement annuities or accounts.)

                                                     735 ILCS 5/12-1001(b): Any personal                    $0.00
                                                     property of debtor

 real estate license                                 735 ILCS 5/12-1001(d): Implements,                  Unknown                Unknown
                                                     books and tools of trade

 Pontiac Grand Prix 2001                             735 ILCS 5/12-1001(c): One motor                       $0.00              $2,400.00
 Mileage: 75,900                                     vehicle                                             $2400.00
 2-door coupe
 GT                                                  735 ILCS 5/12-1001(b): Any personal                   $0.00
 Normal wear and tear;                               property of debtor                              100% of FMV
 smoke smell obvious;
 Needs new brakes and tires;
 Gas gage does not work. Repair quote is
 $1000.00
 Ignition needs to be replaced. Must use a screw
 driver to remove keys each time car is turned off

 Kelly Blue Book Trade-in value: 2000.00

 Used computer, printer, and misc office             735 ILCS 5/12-1001(d): Implements,                   $200.00                $200.00
 supplies                                            books and tools of trade

                                                     735 ILCS 5/12-1001(b): Any personal                    $0.00
                                                     property of debtor




                                                                                                       $28,125.23            $300,422.23
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                               UNITED STATES BANKRUPTCY COURT
                                 NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION (CHICAGO)
 IN RE:   Lynn T Destefano                                           CASE NO     11-48495

                                                                     CHAPTER     7

                                 TOTALS BY EXEMPTION LAW


Exemption Law                   Husband       Wife      Joint      Community      N/A        Exemption      Market
                                                                                               Total        Value
                                                                                                             Total

735 ILCS 5/12-1001(a), (e)            $0.00     $0.00      $0.00        $0.00     $200.00       $200.00      $200.00

735 ILCS 5/12-1001(b)                 $0.00     $0.00      $0.00        $0.00    $1,381.96    $1,381.96    $30,325.23

735 ILCS 5/12-1001(c)                 $0.00     $0.00      $0.00        $0.00        $0.00        $0.00     $2,400.00

735 ILCS 5/12-1001(d)                 $0.00     $0.00      $0.00        $0.00     $200.00       $200.00      $200.00

735 ILCS 5/12-1006                    $0.00     $0.00      $0.00        $0.00   $26,343.27   $26,343.27    $26,343.27

735 ILCS 5/12-901                     $0.00     $0.00      $0.00        $0.00        $0.00        $0.00   $269,897.00
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                                     SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of the
debtor as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and
the creditor and may be provided if the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens,
garnishments, statutory liens, mortgages, deeds of trust, and other security interests.

List creditors in alphabetical order to the extent practicable. If a minor child is the creditor, state the child's initials and the name and address of the child's
parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. § 112 and Fed. R.
Bankr. P. 1007(m). If all secured creditors will not fit on this page, use the continuation sheet provided.

If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the
appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the
marital community may be liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."

If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If
the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)

Total the columns labeled "Amount of Claim Without Deducting Value of Collateral" and "Unsecured Portion, if Any" in the boxes labeled "Total(s)" on the
last sheet of the completed schedule. Report the total from the column labeled "Amount of Claim Without Deducting Value of Collateral" also on the
Summary of Schedules and, if the debtor is an individual with primarily consumer debts, report the total from the column labeled "Unsecured Portion, if
Any" on the Statistical Summary of Certain Liabilities and Related Data.
                                   Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                                HUSBAND, WIFE, JOINT,




           CREDITOR'S NAME AND                                                                       DATE CLAIM WAS                                    AMOUNT OF         UNSECURED
             MAILING ADDRESS                                                                       INCURRED, NATURE                                      CLAIM           PORTION, IF




                                                                                                                                        UNLIQUIDATED
                                                                  OR COMMUNITY




                                                                                                                                         CONTINGENT
                                                     CODEBTOR




                                                                                                                                          DISPUTED
         INCLUDING ZIP CODE AND                                                                       OF LIEN, AND                                      WITHOUT             ANY
           AN ACCOUNT NUMBER                                                                        DESCRIPTION AND                                    DEDUCTING
           (See Instructions Above.)                                                                    VALUE OF                                        VALUE OF
                                                                                                   PROPERTY SUBJECT                                    COLLATERAL
                                                                                                         TO LIEN
                                                                                        DATE INCURRED:    08/2006
ACCT #: xxxxxx6502                                                                      NATURE OF LIEN:
                                                                                        Credit Line Secured
Charter One CCO                                                                         COLLATERAL:
                                                                                        Debtor's home                                                     $98,820.00
480 Jefferson Blvd                                   X                -                 REMARKS:
Glen Allen, VA 23059                                                                    100% consumer
                                                                                        Home equity line of credit; Joint
                                                                                        contractual liability with codebtor

                                                                                        VALUE:                           $269,897.00
                                                                                        DATE INCURRED:    08/2002
ACCT #: xxxxxxxxx8393                                                                   NATURE OF LIEN:
                                                                                        Conventional Real Estate Mortgage
Chase                                                                                   COLLATERAL:
                                                                                        Debtor's Residence 922 Winston Drive Melrose Park,              $171,077.00
PO Box 1093                                          X                -                 REMARKS:
Northridge, CA 91328                                                                    100% consumer
                                                                                        Mortgage on debtor's residence; joint
                                                                                        contractual liability with codebtor

                                                                                        VALUE:                           $269,897.00
                                                                                                               Subtotal (Total of this Page) >            $269,897.00               $0.00
 ________________continuation
        No                    sheets attached
                                                                                                              Total (Use only on last page) >             $269,897.00                $0.00
                                                                                                                                                       (Report also on   (If applicable,
                                                                                                                                                       Summary of        report also on
                                                                                                                                                       Schedules.)       Statistical
                                                                                                                                                                         Summary of
                                                                                                                                                                         Certain Liabilities
                                                                                                                                                                         and Related
                                                                                                                                                                         Data.)
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                                                                                                                         (If Known)



                    SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of
unsecured claims entitled to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name,
mailing address, including zip code, and last four digits of the account number, if any, of all entities holding priority claims against the
debtor or the property of the debtor, as of the date of the filing of the petition. Use a separate continuation sheet for each type of priority
and label each with the type of priority.

The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be
provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's
parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. § 112 and
Fed R. Bankr. P. 1007(m).

If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include
the entity on the appropriate schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the
husband, wife, both of them, or the marital community may be liable on each claim by placing an "H," "W," "J," or "C" in the column
labeled "Husband, Wife, Joint, or Community." If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is
unliquidated, place an "X" in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed."
(You may need to place an "X" in more than one of these three columns.)

Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this
Schedule E in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.

Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all
amounts entitled to priority listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual
debtors with primarily consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related Data.

Report the total of amounts NOT entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of
all amounts not entitled to priority listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule.
Individual debtors with primarily consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related
Data.



    Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.
TYPES OF PRIORITY CLAIMS                      (Check the appropriate box(es) below if claims in that category are listed on the attached sheets.)

    Domestic Support Obligations
    Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian,
    or responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent
    provided in 11 U.S.C. § 507(a)(1).

    Extensions of credit in an involuntary case
    Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of
    the appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).

    Wages, salaries, and commissions
    Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to
    qualifying independent sales representatives up to $11,725* per person earned within 180 days immediately preceding the filing of the original
    petition, or the cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

    Contributions to employee benefit plans
    Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
    cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).


    Certain farmers and fishermen
    Claims of certain farmers and fishermen, up to $5,775* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

* Amounts are subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of
adjustment.
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                                                                                                                              (If Known)


    Deposits by individuals
    Claims of individuals up to $2,600* for deposits for the purchase, lease or rental of property or services for personal, family, or household use,
    that were not delivered or provided. 11 U.S.C. § 507(a)(7).


    Taxes and Certain Other Debts Owed to Governmental Units
    Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).


    Commitments to Maintain the Capital of an Insured Depository Institution
    Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors
    of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C.
    § 507(a)(9).

    Claims for Death or Personal Injury While Debtor Was Intoxicated
    Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using
    alcohol, a drug, or another substance. 11 U.S.C. § 507(a)(10).


    Administrative allowances under 11 U.S.C. Sec. 330
    Claims based on services rendered by the trustee, examiner, professional person, or attorney and by any paraprofessional person employed
    by such person as approved by the court and/or in accordance with 11 U.S.C. §§ 326, 328, 329 and 330.


* Amounts are subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of
adjustment.

________________continuation
       No                    sheets attached
             Case 11-48495             Doc 12        Filed 12/14/11 Entered 12/14/11 23:24:41                                                         Desc Main
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  In re Lynn T Destefano                                                                                           Case No. 11-48495
                                                                                                                                (if known)



                    SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS

State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims
without priority against the debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of
any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do so.
If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor
child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). Do not include
claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.

If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include
the entity on the appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the
husband, wife, both of them, or the marital community may be liable on each claim by placing an "H," "W," "J," or "C" in the column
labeled "Husband, Wife, Joint, or Community."

If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column
labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more
than one of these three columns.)

Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this
total also on the Summary of Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the
Statistical Summary of Certain Liabilities and Related Data.




   Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.
                                                                HUSBAND, WIFE, JOINT,




                CREDITOR'S NAME,                                                                       DATE CLAIM WAS                                    AMOUNT OF




                                                                                                                                       UNLIQUIDATED
                MAILING ADDRESS                                                                         INCURRED AND                                       CLAIM



                                                                                                                                        CONTINGENT
                                                                  OR COMMUNITY
                                                     CODEBTOR




                                                                                                                                         DISPUTED
              INCLUDING ZIP CODE,                                                                    CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                              CLAIM.
             (See instructions above.)                                                             IF CLAIM IS SUBJECT TO
                                                                                                      SETOFF, SO STATE.


ACCT #: xxxxxxxxxxxxxx9863                                                              DATE INCURRED:   10/1995
                                                                                        CONSIDERATION:
American Express                                                                        Credit Card                                                        Notice Only
Attn Special Research                                                                   REMARKS:
                                                                    -
PO Box 981540                                                                           Various dates; credit card purchases
El Paso, TX 79998

ACCT #: xxxxxxxxxxxxxx9863                                                              DATE INCURRED:   10/1995
                                                                                        CONSIDERATION:
American Express                                                                        Credit Card                                                        Notice Only
Attn Special Research                                                                   REMARKS:
                                                                    -
PO Box 981540                                                                           Various dates; credit card purchases
El Paso, TX 79998


                                                                                                                                   Subtotal >                     $0.00
 ________________continuation
        9                     sheets attached
                                                                                                                          Total >
                                                                            (Use only on last page of the completed Schedule F.)
                                                                (Report also on Summary of Schedules and, if applicable, on the
                                                                    Statistical Summary of Certain Liabilities and Related Data.)
             Case 11-48495               Doc 12        Filed 12/14/11 Entered 12/14/11 23:24:41                                                            Desc Main
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  In re Lynn T Destefano                                                                                                Case No. 11-48495
                                                                                                                                     (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                         DATE CLAIM WAS                                       AMOUNT OF




                                                                                                                                            UNLIQUIDATED
                MAILING ADDRESS                                                                           INCURRED AND                                          CLAIM




                                                                                                                                             CONTINGENT
                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                              DISPUTED
              INCLUDING ZIP CODE,                                                                      CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                CLAIM.
             (See instructions above.)                                                               IF CLAIM IS SUBJECT TO
                                                                                                        SETOFF, SO STATE.


ACCT #: xxxxxxxxxxxxxx0572                                                                DATE INCURRED:   05/26/1995
                                                                                          CONSIDERATION:
American Express                                                                          Credit Card                                                               ($1.00)
Attn Special Research                                                                     REMARKS:
                                                                      -
PO Box 981540                                                                             Various dates; credit card purchases
El Paso, TX 79998

ACCT #: xxxxxxxxxxxxxx9863                                                                DATE INCURRED:   10/1995
                                                                                          CONSIDERATION:
American Express                                                                          Credit Card                                                                  $0.00
Attn Special Research                                                                     REMARKS:
                                                                      -
PO Box 981540                                                                             Various dates; credit card purchases
El Paso, TX 79998

ACCT #: xxxxxxxxxxxx2253                                                                  DATE INCURRED:   05/1995
                                                                                          CONSIDERATION:
American Express                                                                          Credit Card                                                                  $0.00
Attn Special Research                                                                     REMARKS:
                                                                      -
PO Box 981540                                                                             Various dates; credit card purchases
El Paso, TX 79998

ACCT #: xxxx-xxxx-xxxx-1420                                                               DATE INCURRED:   08/2001
                                                                                          CONSIDERATION:
Bank Of America                                                                           Credit Card                                                             $8,830.00
Attn Bankruptcy Department                                                                REMARKS:
                                                                      -
475 Cross Point Pkwy                                                                      100% consumer
PO Box 9000                                                                               Various dates; credit card purchases
Getzville, NY 14068
ACCT #: xxxx-xxxx-xxxx-1721                                                               DATE INCURRED:   07/2002
                                                                                          CONSIDERATION:
Bank Of America                                                                           Credit Card                                                           Notice Only
Attn Bankruptcy Department                                                                REMARKS:
                                                                      -
475 Cross Point Pkwy                                                                      Various dates; credit card purchases
PO Box 9000
Getzville, NY 14068
ACCT #: xxxx-xxxx-xxxx-6239                                                               DATE INCURRED:   07/2001
                                                                                          CONSIDERATION:
Bank Of America                                                                           Credit Card                                                                  $0.00
Attn Bankruptcy Department                                                                REMARKS:
                                                                      -
475 Cross Point Pkwy                                                                      Various dates; credit card purchases
PO Box 9000
Getzville, NY 14068
Sheet no. __________
              1        of __________
                               9     continuation sheets attached to                                                                    Subtotal >                 $8,829.00
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
             Case 11-48495               Doc 12        Filed 12/14/11 Entered 12/14/11 23:24:41                                                            Desc Main
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  In re Lynn T Destefano                                                                                                Case No. 11-48495
                                                                                                                                     (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                         DATE CLAIM WAS                                       AMOUNT OF




                                                                                                                                            UNLIQUIDATED
                MAILING ADDRESS                                                                           INCURRED AND                                          CLAIM




                                                                                                                                             CONTINGENT
                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                              DISPUTED
              INCLUDING ZIP CODE,                                                                      CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                CLAIM.
             (See instructions above.)                                                               IF CLAIM IS SUBJECT TO
                                                                                                        SETOFF, SO STATE.


ACCT #: xxxx-xxxx-xxxx-7616                                                               DATE INCURRED:   12/2005
                                                                                          CONSIDERATION:
Capital One Bank USA NA                                                                   Credit Card                                                             $4,539.00
PO Box 30285                                                                              REMARKS:
                                                                      -
Salt Lake City, UT 84130                                                                  100% consumer
                                                                                          Various dates; primarily business purchases


ACCT #: xxxx-xxxx-xxxx-8584                                                               DATE INCURRED:   09/26/2003
                                                                                          CONSIDERATION:
Capital One Bank USA NA                                                                   Credit Card                                                                  $0.00
PO Box 30285                                                                              REMARKS:
                                                                      -
Salt Lake City, UT 84130                                                                  Settled
                                                                                          Account Closed
                                                                                          ELECTION OF REMEDY

ACCT #: xxxx-xxxx-xxxx-0492                                                               DATE INCURRED:   06/2008
                                                                                          CONSIDERATION:
Chase Bank USA NA                                                                         Credit Card                                                            $10,419.00
PO Box 15145                                                                              REMARKS:
                                                                      -
Wilmington, DE 19850-5145                                                                 100% consumer
                                                                                          Various dates; credit card purchases


ACCT #: xxxx-xxxx-xxxx-7488                                                               DATE INCURRED:   01/2007
                                                                                          CONSIDERATION:
Chase Bank USA NA                                                                         Credit Card                                                             $2,172.00
PO Box 15145                                                                              REMARKS:
                                                                      -
Wilmington, DE 19850-5145                                                                 100% consumer
                                                                                          Various dates; credit card purchases


ACCT #: xxxx-xxxx-xxxx-5651                                                               DATE INCURRED:   05/2002
                                                                                          CONSIDERATION:
Chase Bank USA NA                                                                         Credit Card                                                                  $0.00
PO BOX 15145                                                                              REMARKS:
                                                                      -
Wilmington, DE 19850-5145                                                                 Various dates; credit card purchases



ACCT #: xxxxxxxxxxxx9103                                                                  DATE INCURRED:   11/2007
                                                                                          CONSIDERATION:
Chase Pier 1                                                                              Credit Card                                                                  $0.00
Attn Recovery                                                                             REMARKS:
                                                                      -
PO Box 15298                                                                              Various dates; credit card purchases
Wilmington, DE 19850

Sheet no. __________
              2        of __________
                               9     continuation sheets attached to                                                                    Subtotal >                $17,130.00
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
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  In re Lynn T Destefano                                                                                                Case No. 11-48495
                                                                                                                                     (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                         DATE CLAIM WAS                                       AMOUNT OF




                                                                                                                                            UNLIQUIDATED
                MAILING ADDRESS                                                                           INCURRED AND                                          CLAIM




                                                                                                                                             CONTINGENT
                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                              DISPUTED
              INCLUDING ZIP CODE,                                                                      CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                CLAIM.
             (See instructions above.)                                                               IF CLAIM IS SUBJECT TO
                                                                                                        SETOFF, SO STATE.


ACCT #: xxxx-xxxx-xxxx-2915                                                               DATE INCURRED:   12/1994
                                                                                          CONSIDERATION:
CITI Choice Visa                                                                          Credit Card                                                             $6,700.00
PO Box 6241                                                                               REMARKS:
                                                                      -
Sioux Falls, SD 57117                                                                     100% consumer
                                                                                          Various dates; credit card purchases


ACCT #: xxxxxxxxxxxx5374                                                                  DATE INCURRED:   08/2000
                                                                                          CONSIDERATION:
Citibank Sd Na                                                                            Credit Card                                                           Notice Only
Attn Centralized Bankruptcy                                                               REMARKS:
                                                      X               -
PO Box 20507                                                                              Debtor is an authorized user on codebtor's
Kansas City, MO 64195                                                                     credit card


ACCT #: xxxxxxxxxxxx1459                                                                  DATE INCURRED:   01/29/2000
                                                                                          CONSIDERATION:
Citibank Sd Na                                                                            Credit Card                                                                  $0.00
Attn Centralized Bankruptcy                                                               REMARKS:
                                                                      -
PO Box 20363                                                                              Various dates; credit card purchases
Kansas City, MO 64195

ACCT #: xxxx-xxxx-xxxx-5374                                                               DATE INCURRED:   08/2000
                                                                                          CONSIDERATION:
Citibank Sd Na                                                                            Credit Card                                                            $11,414.00
Attn Centralized Bankruptcy                                                               REMARKS:
                                                                      -
PO Box 20507                                                                              100% consumer
Kansas City, MO 64195                                                                     Current Account


ACCT #: xxxxxxxxxxxx1321                                                                  DATE INCURRED:   11/01/1999
                                                                                          CONSIDERATION:
Consecofin                                                                                Charge Account                                                               $0.00
1400 Turbine Drive                                                                        REMARKS:
                                                                      -
Rapid City, SD 57701                                                                      Various dates; credit card purchases



ACCT #: xxxxxxxxxxxx3811                                                                  DATE INCURRED:   11/1993
                                                                                          CONSIDERATION:
Discover Fin Services LLC                                                                 Credit Card                                                            $10,189.00
Attn Bankruptcy Department                                                                REMARKS:
                                                                      -
PO Box 3025                                                                               100% consumer
New Albany, OH 43054                                                                      Various dates; credit card purchases


Sheet no. __________
              3        of __________
                               9     continuation sheets attached to                                                                    Subtotal >                $28,303.00
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
             Case 11-48495               Doc 12        Filed 12/14/11 Entered 12/14/11 23:24:41                                                            Desc Main
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  In re Lynn T Destefano                                                                                                Case No. 11-48495
                                                                                                                                     (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                         DATE CLAIM WAS                                       AMOUNT OF




                                                                                                                                            UNLIQUIDATED
                MAILING ADDRESS                                                                           INCURRED AND                                          CLAIM




                                                                                                                                             CONTINGENT
                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                              DISPUTED
              INCLUDING ZIP CODE,                                                                      CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                CLAIM.
             (See instructions above.)                                                               IF CLAIM IS SUBJECT TO
                                                                                                        SETOFF, SO STATE.


ACCT #: xxxx-xxxx-xxxx-9708                                                               DATE INCURRED:   10/2001
                                                                                          CONSIDERATION:
Discover Fin Services LLC                                                                 Credit Card                                                           Notice Only
Attn Bankruptcy Dept                                                                      REMARKS:
                                                      X               -
PO Box 3025                                                                               Authorized user on co-debtors credit card.
New Albany, OH 43054                                                                      Debts incurred on various dates; consumer
                                                                                          purchases

ACCT #: xxxxxxxxx7820                                                                     DATE INCURRED:   12/2007
                                                                                          CONSIDERATION:
Dsnb Macys                                                                                Charge Account                                                        Notice Only
9111 Duke Blvd                                                                            REMARKS:
                                                                      -
Mason, OH 45040                                                                           Various dates; credit card purchases



ACCT #: xxxxxxxxxxxx7765                                                                  DATE INCURRED:   05/18/2004
                                                                                          CONSIDERATION:
Fashion Bug                                                                               Credit Card                                                                  $0.00
1103 Allen Drive                                                                          REMARKS:
                                                                      -
Milford, OH 45150                                                                         Current Account
                                                                                          Account Closed


ACCT #: xxxxxxxxxxxx7910                                                                  DATE INCURRED:   02/1994
                                                                                          CONSIDERATION:
First Usa Bank Chase                                                                      Credit Card                                                                  $0.00
Attn Bankruptcy Dept                                                                      REMARKS:
                                                                      -
PO Box 15298                                                                              Various dates; credit card purchases
Wilmington, DE 19850

ACCT #: xxxxxxxxxxxx7649                                                                  DATE INCURRED:   08/03/2001
                                                                                          CONSIDERATION:
Fleet CC Bank of America                                                                  Credit Card                                                               ($1.00)
Attn Bankruptcy MC NC4 105 03 14                                                          REMARKS:
                                                                      -
PO Box 26012                                                                              Various dates; credit card purchases
Greensboro, NC 27410

ACCT #: xxxxxxxx3057                                                                      DATE INCURRED:   12/2000
                                                                                          CONSIDERATION:
GEMB Old Navy                                                                             Charge Account                                                               $0.00
Attn GEMB                                                                                 REMARKS:
                                                                      -
PO Box 103104
Roswell, GA 30076

Sheet no. __________
              4        of __________
                               9     continuation sheets attached to                                                                    Subtotal >                   ($1.00)
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
             Case 11-48495               Doc 12        Filed 12/14/11 Entered 12/14/11 23:24:41                                                            Desc Main
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  In re Lynn T Destefano                                                                                                Case No. 11-48495
                                                                                                                                     (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                         DATE CLAIM WAS                                       AMOUNT OF




                                                                                                                                            UNLIQUIDATED
                MAILING ADDRESS                                                                           INCURRED AND                                          CLAIM




                                                                                                                                             CONTINGENT
                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                              DISPUTED
              INCLUDING ZIP CODE,                                                                      CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                CLAIM.
             (See instructions above.)                                                               IF CLAIM IS SUBJECT TO
                                                                                                        SETOFF, SO STATE.


ACCT #: xxxxx0417                                                                         DATE INCURRED:   10/08/2008
                                                                                          CONSIDERATION:
Global Discovery Vacations                                                                Check Credit or Line of Credit                                         $2,946.00
Attn Debra Dept A Ext 7788                                                                REMARKS:
                                                                      -
5360 College Blvd, Ste 200                                                                100% consumer
Overland Park, KS 66211                                                                   Vacation rental


ACCT #: xxxxxxxxxxxx1900                                                                  DATE INCURRED:   09/2006
                                                                                          CONSIDERATION:
HSBC Bank                                                                                 Credit Card                                                            $1,650.00
Attn Bankruptcy                                                                           REMARKS:
                                                                      -
PO Box 5213                                                                               100% consumer
Carol Stream, IL 60197                                                                    Various dates; credit card purchases


ACCT #: xxxxxxxxxxxx5907                                                                  DATE INCURRED:   12/16/1993
                                                                                          CONSIDERATION:
HSBC Best Buy                                                                             Charge Account                                                               $0.00
PO Box 15519                                                                              REMARKS:
                                                                      -
Wilmington, DE 19850                                                                      Various dates; credit card purchases



ACCT #: xxxxxxxxxxxx6358                                                                  DATE INCURRED:   11/1999
                                                                                          CONSIDERATION:
HSBC Menards                                                                              Charge Account                                                               $0.00
Attn Bankruptcy Dept                                                                      REMARKS:
                                                                      -
PO Box 5263                                                                               Various dates; credit card purchases
Carol Stream, IL 60197

ACCT #: xxxxxxxxxxxx6367                                                                  DATE INCURRED:   11/22/1999
                                                                                          CONSIDERATION:
HSBC NV                                                                                   Credit Card                                                                  $0.00
Attn Bankruptcy                                                                           REMARKS:
                                                                      -
PO Box 5213                                                                               Various dates; credit card purchases
Carol Stream, IL 60197

ACCT #: xxxxxxxxxxxx8788                                                                  DATE INCURRED:   12/06/2001
                                                                                          CONSIDERATION:
HSBC Value City                                                                           Charge Account                                                               $0.00
PO Box 5264                                                                               REMARKS:
                                                                      -
Carol Stream, IL 60197                                                                    Various dates; credit card purchases



Sheet no. __________
              5        of __________
                               9     continuation sheets attached to                                                                    Subtotal >                $4,596.00
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
             Case 11-48495               Doc 12        Filed 12/14/11 Entered 12/14/11 23:24:41                                                            Desc Main
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  In re Lynn T Destefano                                                                                                Case No. 11-48495
                                                                                                                                     (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                         DATE CLAIM WAS                                       AMOUNT OF




                                                                                                                                            UNLIQUIDATED
                MAILING ADDRESS                                                                           INCURRED AND                                          CLAIM




                                                                                                                                             CONTINGENT
                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                              DISPUTED
              INCLUDING ZIP CODE,                                                                      CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                CLAIM.
             (See instructions above.)                                                               IF CLAIM IS SUBJECT TO
                                                                                                        SETOFF, SO STATE.


ACCT #: xxxxxxxxxxxx6162                                                                  DATE INCURRED:   11/25/1991
                                                                                          CONSIDERATION:
JC Penny                                                                                  Charge Account                                                               $0.00
PO Box 45270                                                                              REMARKS:
                                                                      -
Salt Lake City, UT 84145                                                                  Various dates; credit card purchases



ACCT #: xxxxxxxx9552                                                                      DATE INCURRED:   11/1993
                                                                                          CONSIDERATION:
Kohls                                                                                     Charge Account                                                         $1,658.00
N56 W 17000 Ridgewood Dr                                                                  REMARKS:
                                                                      -
Menomonee Falls, WI 53051                                                                 100% consumer
                                                                                          Various dates; credit card purchases


ACCT #: xxxxx2238                                                                         DATE INCURRED:   12/01/1992
                                                                                          CONSIDERATION:
Lane Bryant                                                                               Charge Account                                                               $0.00
WFNNB                                                                                     REMARKS:
                                                                      -
PO Box 182125                                                                             Various dates; credit card purchases
Columbus, OH 43218

ACCT #: xxxxxxxxxxxx3532                                                                  DATE INCURRED:   09/2003
                                                                                          CONSIDERATION:
Newport News                                                                              Charge Account                                                               $0.00
PO Box 182125                                                                             REMARKS:
                                                                      -
Columbus, OH 43218                                                                        Various dates; credit card purchases



ACCT #: xxxxxxxxxxxx0420                                                                  DATE INCURRED:   08/1995
                                                                                          CONSIDERATION:
Nordstrom FSB                                                                             Credit Card                                                            $2,674.00
Attn Bankruptcy Department                                                                REMARKS:
                                                                      -
PO Box 6566                                                                               100% consumer
Englewood, CO 80155                                                                       Account Closed By Grantor


ACCT #: xxxxxxxxxxxx8442                                                                  DATE INCURRED:   10/2008
                                                                                          CONSIDERATION:
PayPal Credit Services GEMB                                                               Credit Card                                                              $306.00
Attn Bankruptcy                                                                           REMARKS:
                                                                      -
PO Box 103104                                                                             100% consumer
Roswell, GA 30076                                                                         Various dates; credit card purchases


Sheet no. __________
              6        of __________
                               9     continuation sheets attached to                                                                    Subtotal >                $4,638.00
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
             Case 11-48495               Doc 12        Filed 12/14/11 Entered 12/14/11 23:24:41                                                            Desc Main
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  In re Lynn T Destefano                                                                                                Case No. 11-48495
                                                                                                                                     (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                         DATE CLAIM WAS                                       AMOUNT OF




                                                                                                                                            UNLIQUIDATED
                MAILING ADDRESS                                                                           INCURRED AND                                          CLAIM




                                                                                                                                             CONTINGENT
                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                              DISPUTED
              INCLUDING ZIP CODE,                                                                      CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                CLAIM.
             (See instructions above.)                                                               IF CLAIM IS SUBJECT TO
                                                                                                        SETOFF, SO STATE.


ACCT #: xxxxxxxx1610                                                                      DATE INCURRED:   11/1992
                                                                                          CONSIDERATION:
RNB Fields3 Macys                                                                         Charge Account                                                           ($1.00)
Macys Bankruptcy Department                                                               REMARKS:
                                                                      -
PO Box 8053                                                                               Various dates; credit card purchases
Mason, OH 45040

ACCT #: xxxxxxxxxxxx7790                                                                  DATE INCURRED:   01/2004
                                                                                          CONSIDERATION:
Sams Club GEMB                                                                            Charge Account                                                         $3,214.00
Attn Bankruptcy Department                                                                REMARKS:
                                                                      -
PO Box 103104                                                                             100% consumer
Roswell, GA 30076                                                                         Various dates; credit card purchases


ACCT #: xxxxxxxxxxxx2630                                                                  DATE INCURRED:   02/17/2009
                                                                                          CONSIDERATION:
Sears CBNA                                                                                Credit Card                                                                  $0.00
Attn Bankruptcy                                                                           REMARKS:
                                                                      -
PO Box 3677                                                                               Various dates; credit card purchases
Des Moines, IA 50322

ACCT #: xxxxxx1112                                                                        DATE INCURRED:   03/1993
                                                                                          CONSIDERATION:
Spiegel World Financial Network                                                           Charge Account                                                               $0.00
PO Box 182273                                                                             REMARKS:
                                                                      -
Columbus, OH 43218                                                                        Various dates; credit card purchases



ACCT #: xxxxxxxxxxxx7577                                                                  DATE INCURRED:   06/2000
                                                                                          CONSIDERATION:
TNB Visa Target                                                                           Credit Card                                                                  $0.00
Attn Financial and Retail Services                                                        REMARKS:
                                                                      -
PO Box 9475                                                                               Various dates; credit card purchases
Minneapolis, MN 55440

ACCT #: xxxxx7145                                                                         DATE INCURRED:   11/2004
                                                                                          CONSIDERATION:
Victoria's Secret                                                                         Charge Account                                                           $325.00
Attn Bankruptcy                                                                           REMARKS:
                                                                      -
PO Box 182125                                                                             100% consumer
Columbus, OH 43215                                                                        Various dates; credit card purchases


Sheet no. __________
              7        of __________
                               9     continuation sheets attached to                                                                    Subtotal >                $3,538.00
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
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  In re Lynn T Destefano                                                                                                Case No. 11-48495
                                                                                                                                     (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                         DATE CLAIM WAS                                       AMOUNT OF




                                                                                                                                            UNLIQUIDATED
                MAILING ADDRESS                                                                           INCURRED AND                                          CLAIM




                                                                                                                                             CONTINGENT
                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                              DISPUTED
              INCLUDING ZIP CODE,                                                                      CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                CLAIM.
             (See instructions above.)                                                               IF CLAIM IS SUBJECT TO
                                                                                                        SETOFF, SO STATE.


ACCT #: xxxx-xxxx-xxxx-7210                                                               DATE INCURRED:   12/1993
                                                                                          CONSIDERATION:
Wells Fargo Financial Cards                                                               Credit Card                                                            $7,159.00
PO Box 10438                                                                              REMARKS:
                                                                      -
Des Moines, IA 50306                                                                      100% consumer
                                                                                          Various dates; credit card purchases


ACCT #: xxxxxxxxxxxx6031                                                                  DATE INCURRED:   07/01/2002
                                                                                          CONSIDERATION:
WFNNB Harlem                                                                              Charge Account                                                               $0.00
Attn Bankruptcy                                                                           REMARKS:
                                                                      -
PO Box 182686                                                                             Various dates; retail purchases
Columbus, OH 43218

ACCT #: xxxxx0759                                                                         DATE INCURRED:   05/2004
                                                                                          CONSIDERATION:
Wfnnb Jessica London                                                                      Charge Account                                                               $0.00
Attn Bankruptcy                                                                           REMARKS:
                                                                      -
P.O. Box 182686                                                                           Various dates; retail purchases
Columbus, OH 43218

ACCT #: xxxxx7294                                                                         DATE INCURRED:   05/2004
                                                                                          CONSIDERATION:
Wfnnb Lerner                                                                              Charge Account                                                               $0.00
Attn Bankruptcy                                                                           REMARKS:
                                                                      -
PO Box 182686                                                                             Various dates; credit card purchases
Columbus, OH 43218

ACCT #: xxxxx0085                                                                         DATE INCURRED:   09/2004
                                                                                          CONSIDERATION:
WFNNB Roamans                                                                             Charge Account                                                           $595.00
Attn Bankruptcy                                                                           REMARKS:
                                                                      -
PO Box 182686                                                                             100% consumer
Columbus, OH 43218                                                                        Various dates; credit card purchases


ACCT #: xxxxx6379                                                                         DATE INCURRED:   07/2003
                                                                                          CONSIDERATION:
Wfnnb TSA                                                                                 Charge Account                                                               $0.00
Attn Bankruptcy                                                                           REMARKS:
                                                                      -
PO Box 182686                                                                             Various dates; retail purchases
Columbus, OH 43218

Sheet no. __________
              8        of __________
                               9     continuation sheets attached to                                                                    Subtotal >                $7,754.00
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
             Case 11-48495               Doc 12        Filed 12/14/11 Entered 12/14/11 23:24:41                                                         Desc Main
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  In re Lynn T Destefano                                                                                             Case No. 11-48495
                                                                                                                                  (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                         DATE CLAIM WAS                                    AMOUNT OF




                                                                                                                                         UNLIQUIDATED
                MAILING ADDRESS                                                                           INCURRED AND                                       CLAIM




                                                                                                                                          CONTINGENT
                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                           DISPUTED
              INCLUDING ZIP CODE,                                                                      CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                CLAIM.
             (See instructions above.)                                                               IF CLAIM IS SUBJECT TO
                                                                                                        SETOFF, SO STATE.


ACCT #: xxxxxxxxxxxx8323                                                                  DATE INCURRED:   02/2009
                                                                                          CONSIDERATION:
Wfnnb Value City Furniture                                                                Charge Account                                                            $0.00
Attn Bankruptcy                                                                           REMARKS:
                                                                      -
PO Box 182686                                                                             Various dates; credit card purchases
Columbus, OH 43218

ACCT #: x6224                                                                             DATE INCURRED:   12/1992
                                                                                          CONSIDERATION:
Wfnnb woman within                                                                        Charge Account                                                            $0.00
PO Box 182686                                                                             REMARKS:
                                                                      -
Columbus, OH 43218                                                                        Various dates; credit card purchases



ACCT #: xxxxx0585                                                                         DATE INCURRED:   09/2004
                                                                                          CONSIDERATION:
World Financial Network National Bank                                                     Charge Account                                                            $0.00
WFNNB                                                                                     REMARKS:
                                                                      -
PO Box 182686                                                                             Various dates; credit card purchases
Columbus, OH 43218




Sheet no. __________
              9        of __________
                               9     continuation sheets attached to                                                                 Subtotal >                     $0.00
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >                           $74,787.00
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
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                                                                                                        (if known)



                     SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests.
State nature of debtor's interest in contract, i.e., "Purchaser," "Agent," etc. State whether debtor is the lessor or lessee of a lease.
Provide the names and complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to
one of the leases of contracts, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a
minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).


    Check this box if debtor has no executory contracts or unexpired leases.

                                                                         DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF DEBTOR'S
                                                                         INTEREST. STATE WHETHER LEASE IS FOR NONRESIDENTIAL REAL
            NAME AND MAILING ADDRESS, INCLUDING ZIP CODE,                PROPERTY. STATE CONTRACT NUMBER OF ANY GOVERNMENT
              OF OTHER PARTIES TO LEASE OR CONTRACT.                     CONTRACT.
              Case 11-48495                Doc 12         Filed 12/14/11 Entered 12/14/11 23:24:41                                   Desc Main
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                                                                                                                        (if known)



                                                        SCHEDULE H - CODEBTORS
Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed by the debtor
in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state, commonwealth, or
territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within the eight-
year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and of any former spouse who resides or
resided with the debtor in the community property state, commonwealth, or territory. Include all names used by the nondebtor spouse during the eight
years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor, state the child's initials and the name and
address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112
and Fed. R. Bankr. P. 1007(m).

    Check this box if debtor has no codebtors.
                     NAME AND ADDRESS OF CODEBTOR                                                     NAME AND ADDRESS OF CREDITOR

  Joseph Strzezewski                                                            Citibank Sd Na
  922 Winston Drive                                                             Attn Centralized Bankruptcy
  Melrose Park, IL 60160                                                        PO Box 20507
                                                                                Kansas City, MO 64195


  Joseph Strzezewski                                                            Charter One CCO
  922 Winston Drive                                                             480 Jefferson Blvd
  Melrose Park, IL 60160                                                        Glen Allen, VA 23059



  Joseph Strzezewski                                                            Chase
  922 Winston Drive                                                             PO Box 1093
  Melrose Park, IL 60160                                                        Northridge, CA 91328



  Joseph Strzezewski                                                            Discover Fin Services LLC
  922 Winston Drive                                                             Attn Bankruptcy Dept
  Melrose Park, IL 60160                                                        PO Box 3025
                                                                                New Albany, OH 43054
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                                                                                                                   (if known)



                            SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
The column labeled "Spouse" must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is filed,
unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child. The average monthly income calculated on
this form may differ from the current monthly income calculated on Form 22A, 22B, or 22C.
 Debtor's Marital Status:                                              Dependents of Debtor and Spouse
                                 Relationship(s): Live-in boyfriendAge(s):             Relationship(s):                           Age(s):
           Single




 Employment:                      Debtor (# of additional employers: 1)                      Spouse
 Occupation                      Waitress
 Name of Employer                American Blue Ribbon Holdings, LLC
 How Long Employed               1 year 6 months
 Address of Employer             400 West 48th Avenue
                                 Denver, CO 80216

INCOME: (Estimate of average or projected monthly income at time case filed)                                      DEBTOR                    SPOUSE
1. Monthly gross wages, salary, and commissions (Prorate if not paid monthly)                                     $750.00
2. Estimate monthly overtime                                                                                        $0.00
3. SUBTOTAL                                                                                                       $750.00
4. LESS PAYROLL DEDUCTIONS
   a. Payroll taxes (includes social security tax if b. is zero)                                                  $100.00
   b. Social Security Tax                                                                                          $46.00
   c. Medicare                                                                                                      $0.00
   d. Insurance                                                                                                     $0.00
   e. Union dues                                                                                                    $0.00
   f. Retirement                                                                                                    $0.00
   g. Other (Specify)                                                                                               $0.00
   h. Other (Specify)                                                                                               $0.00
   i. Other (Specify)                                                                                               $0.00
   j. Other (Specify)                                                                                               $0.00
   k. Other (Specify)                                                                                               $0.00
5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                                 $146.00
6.    TOTAL NET MONTHLY TAKE HOME PAY                                                                             $604.00
7.  Regular income from operation of business or profession or farm (Attach detailed stmt)                           $0.00
8.  Income from real property                                                                                        $0.00
9.  Interest and dividends                                                                                           $0.00
10. Alimony, maintenance or support payments payable to the debtor for the debtor's use or                           $0.00
    that of dependents listed above
11. Social security or government assistance (Specify):
       Food Stamps                                                                                                  $16.00
12. Pension or retirement income                                                                                     $0.00
13. Other monthly income (Specify):
      a.                                                                                                            $0.00
      b. Boyfriend                                                                                                $800.00
      c.                                                                                                            $0.00
14. SUBTOTAL OF LINES 7 THROUGH 13                                                                                $816.00
15. AVERAGE MONTHLY INCOME (Add amounts shown on lines 6 and 14)                                                $1,420.00
16. COMBINED AVERAGE MONTHLY INCOME: (Combine column totals from line 15)                                                $1,420.00
                                                                       (Report also on Summary of Schedules and, if applicable,
                                                                       on Statistical Summary of Certain Liabilities and Related Data)
17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:
Boyfriend who lives with debtor was laid-off from September to the end of November. He is currently working as seasonal help.
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In re Lynn T Destefano                                                                 Case No.   11-48495
                                                                                                       (if known)



                            SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
                                                          Continuation Sheet No. 1

Additional Employment
 Employment                       Debtor                                             Spouse
 Occupation                      Real Estate Agent
 Name of Employer                Caporale Realty
 How Long Employed               10 years
 Address of Employer             7646 West North Avenue
                                 Elmwood Park, IL
                                 60707-4143

 Employment                       Debtor                                             Spouse
 Occupation
 Name of Employer
 How Long Employed
 Address of Employer
             Case 11-48495               Doc 12         Filed 12/14/11 Entered 12/14/11 23:24:41                                Desc Main
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  IN RE: Lynn T Destefano                                                                       Case No.     11-48495
                                                                                                                  (if known)



                    SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor's family at time case filed. Prorate any
payments made bi-weekly, quarterly, semi-annually, or annually to show monthly rate. The average monthly expenses calculated on this form may
differ from the deductions from income allowed on Form 22A or 22C.

    Check this box if a joint petition is filed and debtor's spouse maintains a separate household. Complete a separate schedule of expenditures
    labeled "Spouse."


 1. Rent or home mortgage payment (include lot rented for mobile home)                                                                     $1,462.00
    a. Are real estate taxes included?           Yes         No
    b. Is property insurance included?           Yes         No

 2. Utilities: a. Electricity and heating fuel                                                                                               $175.06
               b. Water and sewer                                                                                                             $40.00
               c. Telephone                                                                                                                  $160.00
               d. Other: Cable, internet, phone                                                                                              $200.00
 3. Home maintenance (repairs and upkeep)                                                                                                    $100.00
 4. Food                                                                                                                                     $547.00
 5. Clothing                                                                                                                                  $50.00
 6. Laundry and dry cleaning                                                                                                                  $20.00
 7. Medical and dental expenses                                                                                                               $30.00
 8. Transportation (not including car payments)                                                                                              $182.00
 9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                                                           $0.00
 10. Charitable contributions                                                                                                                  $0.00
 11. Insurance (not deducted from wages or included in home mortgage payments)
           a. Homeowner's or renter's                                                                                                          $0.00
           b. Life                                                                                                                             $0.00
           c. Health                                                                                                                           $0.00
           d. Auto                                                                                                                            $75.00
           e. Other: Cigarettes, misc. personal car                                                                                          $185.00
 12. Taxes (not deducted from wages or included in home mortgage payments)                                                                      $0.00
 Specify:
 13. Installment payments: (In chapter 11, 12, and 13 cases, do not list payments to be included in the plan)
             a. Auto:                                                                                                                           $0.00
             b. Other:                                                                                                                          $0.00
             c. Other:                                                                                                                          $0.00
             d. Other:
 14. Alimony, maintenance, and support paid to others:                                                                                          $0.00
 15. Payments for support of add'l dependents not living at your home:                                                                          $0.00
 16. Regular expenses from operation of business, profession, or farm (attach detailed statement)
 17.a. Other: Cigarettes                                                                                                                     $300.00
 17.b. Other:
 18. AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules and,
                                                                                                                                          $3,526.06
    if applicable, on the Statistical Summary of Certain Liabilities and Related Data.)
 19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year following the filing of this
 document: None.


 20. STATEMENT OF MONTHLY NET INCOME
 a. Average monthly income from Line 15 of Schedule I                                                                                      $1,420.00
 b. Average monthly expenses from Line 18 above                                                                                            $3,526.06
 c. Monthly net income (a. minus b.)                                                                                                     ($2,106.06)
